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                Exhibit C
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From:                              Lyons, Jane (USADC) <Jane.Lyons@usdoj.gov>
Sent:                              Tuesday, April 15, 2025 5:14 PM
To:                                Tobin, Charles D.; Hudak, Brian (USADC); Freeman, Mark (CIV); Myers, Steven A. (CIV);
                                   Salzman, Joshua M. (CIV); Walker, Johnny (USADC); McArthur, Eric (CIV)
Cc:                                Mishkin, Maxwell S.; Dudding, Sasha
Subject:                           RE: The White House's ongoing failure to include the AP in the press pool, in violation
                                   of the Court's injunction order



⚠ EXTERNAL
Hi Chuck,

  I just want to acknowledge that we have received your email. We’ve confirmed that an updated pool policy should be
issuing this evening. If we learn of any last-minute delays, we’ll let you know.

 Have a nice evening.

Best,
Jane


Jane M. Lyons | Appellate Counsel (Civil)
Civil Division, U.S. Attorney’s Office
601 D Street, NW, Washington, D.C. 20530
Ph: (202) 252-2540 | jane.lyons@usdoj.gov




From: Tobin, Charles D. <TobinC@ballardspahr.com>
Sent: Tuesday, April 15, 2025 10:13 AM
To: Lyons, Jane (USADC) <Jane.Lyons@usdoj.gov>; Hudak, Brian (USADC) <Brian.Hudak@usdoj.gov>; Freeman, Mark
(CIV) <Mark.Freeman2@usdoj.gov>; Myers, Steven A. (CIV) <Steven.A.Myers@usdoj.gov>; Salzman, Joshua M. (CIV)
<Joshua.M.Salzman@usdoj.gov>; Walker, Johnny (USADC) <Johnny.Walker@usdoj.gov>; McArthur, Eric (CIV)
<Eric.McArthur@usdoj.gov>
Cc: Mishkin, Maxwell S. <MishkinM@ballardspahr.com>; Dudding, Sasha <duddings@ballardspahr.com>
Subject: [EXTERNAL] The White House's ongoing failure to include the AP in the press pool, in violation of the Court's
injunction order

Counsel, attached are the White House Daily Guidance and Press Schedules for yesterday, April 14, and today, April 15.

Despite the District Court’s April 8 injunction order that required the White House to “immediately rescind” the denial of
the Associated Press’s access to the press pool, and the Court’s denial on April 11 of the government’s stay motion, the
AP has not been selected for either the wire service or photo slots in the pool in the past five business days. In fact, as
to photos, the White House has included the same four members of that pool both yesterday and today, excluding only
the AP.

Again, today is the fifth business day since the District Court ordered the White House to “immediately” include the AP
in the pool. Under a non‐discriminatory system, the AP should have been selected for either the wire or photo pool, or
both, by today.
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Its continued failure to include the AP strongly indicates that the White House, as an official there told the AP yesterday,
continues to be excluded because of the litigation the AP brought, and because the AP will not accede to the President’s
demands that it change The AP Stylebook to reflect his executive order’s re‐designation of the “Gulf of America.”

We are waiting for the White House’s firm commitment by close of business today that the AP will be restored to the
pool “immediately” and regularly receive a rotating assignment to daily pool opportunities, as well as pre‐credentialed
events. If none is forthcoming, we will ask the District Court to enforce the injunction order.

Thank you,
Chuck Tobin


Charles D. Tobin




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                                  THE WHITE HOUSE
                                    WASHINGTON
FROM:            THE WHITE HOUSE COMMUNICATIONS OFFICE
SUBJECT:         PRESS POOL POLICY
DATE:            April 15, 2025
                      WHITE HOUSE PRESS POOL POLICY
Hundreds of journalists show up each day to report from the White House. And
there are thousands of journalists across the country who seek special access to
cover the President in the Oval Office, aboard Air Force One, and in other sensitive
locations.

The President, at his discretion, affords special media access to a small group of
reporters each day. This group of reporters is known as the White House Press
Pool. As previously announced by the White House Press Secretary, the group of
reporters in the White House Press Pool is chosen by the White House Press
Secretary. This memorandum outlines the criteria to select the White House Press
Pool.

                             PRESS POOL SELECTION

The White House Press Pool will consist of the following:

   •   One print journalist to serve as ‘print pooler’
   •   One additional print journalist
   •   A television network head-on crew (ABC, CBS, CNN, FOX, NBC)
   •   A secondary television network or streaming service
   •   One radio journalist
   •   One new media/independent journalist
   •   Four photo-journalists

The White House Communications Office will use the following criteria when
selecting members of the daily Pool:

   •   Eligible outlets will be chosen for the White House Press Pool on a rotating
       basis.

   •   Although eligible outlets will generally rotate through these slots, the White
       House Press Secretary shall retain day-to-day discretion to determine
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       composition of the pool. This is necessary to ensure that the President’s
       message reaches targeted audiences and that outlets with applicable subject-
       matter expertise are present as events warrant.

   •   The White House Press Secretary reserves the right to add additional
       journalists to an expanded Pool based on capacity and day-to-day needs.

   •   Wire-based outlets will be eligible for selection as part of the Pool’s daily
       print-journalist rotation.

   •   Outlets will be eligible for participation in the Pool, irrespective of the
       substantive viewpoint expressed by an outlet.

                                   APPLICABILITY

The policy outlined in this memorandum is effective immediately. This policy is
subject to amendment or modification at any time, including if the injunction is
stayed, modified, or reversed in Associated Press v. Budowich, No. 1-25-cv-532
(D.D.C.). The President retains absolute discretion over access to the Oval Office,
Air Force One, and other comparably sensitive spaces.
